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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA             )
                                     )          CRIMINAL ACTION NO.
     v.                              )            2:12cr221-MHT
                                     )                 (WO)
WILLIAM ELLIOTT                      )


                         OPINION AND ORDER

    Amendment 782 to the 2014 edition of the Sentencing

Guidelines      revised       the      guidelines         applicable     to

drug-trafficking offenses.             Following the United States

Sentencing     Commission’s         decision     to   give    retroactive

effect    to   the     amendment,        this    court    established     a

Retroactivity Screening Panel to determine whether a

defendant      might    be     eligible         for   a    reduction    of

sentence.      Upon consideration of the recommendation of

the Retroactivity Screening Panel entered January 29,

2016, and after an independent and de novo review of

the record, it is ORDERED as follows:

    (1) Defendant            William       Elliott’s         motion     for

retroactive application of sentencing guidelines (doc.

no. 781) is granted.
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    (2) Pursuant to 18 U.S.C. § 3582(c)(2), defendant

Elliott’s previously imposed sentence of imprisonment

(as reflected in the last judgment issued) of 57 months

is reduced to 46 months.

    DONE, this the 2nd day of February, 2016.

                                  _ /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
